CSD 1B01$&/d|18%196044-LT11 Filed 04/30/19 Entered 04/30/19 16239:55 DOC 261 PQ. 1 Of 9

Name, Address, Te|ephone No. & I.D. No.

Dona|d A. Vaughn (Bar No. 110070)
Evan J. Topo| (Bar No. 274932)
VAUGHN & VAUGHN

501 West Broadway, Suite 1770

San Diego, CA 92101

Te|: (619) 237-1717 / Fax: (619-237-0447

 

UN|TED STATES BANKRUPTCY COURT
SOUTHERN D|STR|CT OF CALIFORN|A
325 West F Street, San Diego, Ca|ifornia 92101-6991

 

in Re JESSE WAYNE DAWBER [Joint|y Administered
with 19-0293-LT11, CLASS WAR, |NC.]

[Af'fects both Debtors] Debtor'

[:I P|aintiff(s) (Adv)

l:| Movant(s) (RS)

BANKRUPTCY No. 18-06044-LT11

ADVERSARY NO.

RS NO.

 

m Defendant(s) (Adv)

[\ Respondents(s)(RS)

 

Date of Hearing; Aprii 23, 2019
Time of Hearing: 11:00 a.m.
Name of Judge; Hon. Laura Tayior

 

NOT|CE OF LODGMENT

TO: Al| Parties in |nterest

PLEASE TAKE NOT|CE that:

On Apri| 30, 2019 , the undersigned party lodged with the court a proposed

ORDER ON MOT|ON OF CRED\TOR JACK SCH|NDLER TO APPO|NT TRUSTEE OR EXAM|NER

a copy of which is attached as Exhibit A and incorporated by reference

Under Ruie 7054-3(b) of the Locai Bankruptcy Ruies of this court, any objections to the form or content of this proposed

ORDER ON MOT|ON OF CRED|TOR JACK SCH|NDLER TO APPOINT TRUSTEE OR EXAM|NER

must be filed and served on the undersigned party within 7 days from the date of service of this Notice of Lodgment.

DATEDZ 4/30/2019 /S/ DONALD A. VAUGHN

 

[:| Party § Attorney for Movant

CSD 1500

Case 18-06044-LT11 Filed 04/30/19 Entered 04/30/19 16:39:55 DOC 261 Pg. 2 Of 9
CSD 1500 [07/01/18] (Page 2)

CERT|FICATE OF SERV|CE

l, Tatiana Tomacelii am a resident of the State of California, over the age of 18 years,
and not a party to this action.

 

On 4/30/2019 , l served the Notice of Lodgment:

 

1. To Be Served by the Court via Notice of E|ectronic Fi|ing (“NEF”):

Under controlling Loca| Bankruptcy Rules(s) (“LBR"), the document(s) listed above will be served by the
court via NEF and hyperlink to the document On 4/30/2019 , | checked the CM/ECF docket for
this bankruptcy case or adversary proceeding and determined that the following person(s) are on the E|ectronic Mail
Notice List to receive NEF transmission at the e-mail address(es) indicated and/or as checked below:

|:] Chapter 7 Trustee:

I:] For Chpt. 7, 11, & 12 cases: |:] For ODD numbered Chapter 13 cases: [] For EVEN numbered Chapter 13 cases:
UN|TED STATES TRUSTEE THOMAS H. BlLL|NGSLEA, JR_, TRUSTEE DAV|D L. SKELTON, TRUSTEE
ustp.regi0n1 5@usdoj.gov Billingslea@thb.coxatwork.com admin@ch13.sdcoxmail.com

dskelton1B@ecf.epiqsystems.com

2. Served by United States Mail:

On ,l served the following person(s) and/or entity(ies) at the last known
address(es) in this bankruptcy case or adversary proceeding by placing accurate Copies in a sealed envelope in the
United States Mail via 1) first class, postage prepaid or 2) certified mail with receipt number, addressed as follows:

[SEE ATTACHED PROOF OF SERV\CE]

CSD 1500

Case 18-06044-LT11 Filed 04/30/19 Entered 04/30/19 16:39:55 DOC 261 Pg. 3 Of 9
CSD 1500 [07/01/18] (Page 3)

3. Served by Persona| De|ivery, Facsimile Transmission, Overnight De|ivery, or E|ectronic Mai|:

Under Fed.R.Civ.P.S and controlling LBR, on , l served the following person(s)

and/or entity(ies) by personal delivery, or (for those who consented in writing to such service method) by facsimile
transmission, overnight delivery, and/or electronic mail as follows:

l declare under penalty of perjury under the laws of the United States of America that the statements made
in this proof of service are true and correct

/ `
Executed on 4/30/2019 Tatiana Tomacelii "):b/\&M( 10 ma ¢M/{/{

(Date) (Typed Name and Signature)

501 West Broadway, Suite 1770
(Address)

 

San Diego, CA 92101
(City, State, Z|P Code)

 

CSD 1 500

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V.-\uc`,HN & \’Au<;iiN

3 18-06044-LT11 Filed 04/30/19 Entered 04/30/19 16239:55 DOC 261 PQ. 4 019

ln re Jesse Dawber, Case No. ]8-()6044-LT] 1
Jol'ntly Adminl`stered with Case No. 1 9-0()293~LT1]
PROOF OF SERVICE
I, Tatiana Tomacelli, declare as follows:

_ l am a citizen of the United States and am employed in the County of San
Diego, California. I am over the age of 18 and not a party to_ the within action. M
buslnes_s address is 501 West Broadway, Suite 1770, San Dlego, California 9210 .
On Aprll 3(;2, 2019, I served the following document

NOTICE OF LODGMENT
on the parties in this action as follows:

Michael D. Breslauer on behalf of Debtor Class War, Inc.
mbreslauer@swss.com

 

John W. Cutchin
`1cutchin§chan.rr.com

M. Douglas Flahaut on behalf of Debtor Jesse Wayne Dawber
tiahaut.dougias@arentibx.corn

 

Lauren N. Gans on behalf of STFU Global PTE LTD
lgans@shensonlawgroup.com

 

Todd S. Garan on behalf of Creditor Bank of America
Lgaran@aldridgepite.eom

 

Aram Ordubegian on behalf of Debtor Jesse Wayne Dawber
ordube,<;ian.ararn@arentfox.eom

Jonathan S. Shenson on behalf of STFU Global PTE LTD
jshenson@shensonlawgroup.eom

Christopher K.S. Wong on behalf of Debtor J esse Wayne Dawber
christopher.wong@arentfox.com

David A. Ortiz on behalf of the United States
david.a.ortiz@usdoi.gov

 

United States Trustee
ustp.region l 5@usdoj.gov

 

 

 

PROOF OF SERVICE

 

CaSE 18-06044-LT11 Filed 04/30/19 Entered 04/30/19 16239:55 DOC 261 PQ. 5 019

l Tiffany L.Carroll
2 tiffanv.l.cairoll@usdoi.gov

3 Elizabeth C.Amorosi
4 Elizabeth.c.amorosi@usdoi.gov

5 [X] BY CM/ECF NOTICE OF ELECTRONIC FILING by causing such
6 document(s) listed above to be served through this Court’s electronic

transmission facilities via the Notice of Electronic Filing (NEF) and
7 hyperlink, to the parties and/or counsel who are determined this date to be
8 registered CM/ECF Users set forth below as identified on the service list
obtained from this Court on the Electronic Mail Notice List.

[ ] BY MAIL: I am readily familiar with the firm’s practice of collection and

processing of correspondence for mailing with the United States Postal
11 Service, and that the correspondence shall be deposited with the United
States Postal Service this same day in the ordinary course of business

12
pursuant to Code of Civil Procedure §1013(a).
13
14 l declare under penalty of perjury under the laws of the State of California that

the foregoing is true and correct and that l executed this Proof of Service on April
15 O , 2019, at San Diego, California.

16 _./ l '
17 Tatiana 1 omaceill

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V.»\L;<`.HN & VAuCHN

 

 

PROOF OF SERVlCE

 

CaSe 18-06044-LT11 Filed 04/30/19 Entered 04/30/19 16239:55 DOC 261 PQ. 6 019

EXHIBIT A

CSD 105;@@7;1_,$,1@56044-LT11 Filed 04/30/19 Entered 04/30/19 16:39:55 Doc 261 Pg. 7 or 9

Name, Address, Te|ephone No. & |.D. No.

Donald A. Vaughnl Esq. (Bar No. 1100070)
Evan J. Topo|, Esq. (Bar No. 274932)
VAUGHN & VAUGHN

501 West Broadway, Suite 1770

San Diego, CA 92101

Te|: (619) 237-1717 / Fax: (619) 237-0447

 

UN|TED STATES BANKRUPTCY COURT
SOUTHERN D|STR|CT OF CAL|FORNlA
325 West F Street, San Diego, California 92101-6991

 

ln Re JESSE WAYNE DAWBER [Joint|y Administered With 19-00293-
LT11, CLASS WAR, INC.]

[Affects both Debtors]

Debtor.

ORDERON

 

LODGED
BANKRUPTCY NO. 18-06044-LT11
Date of Hearing: April 23‘ 2019

Time of Hearing: 11:00 a.m.
Name of Judqe: Hon. Laura Taylor

MOT|ON OF CRED|TOR JACK SCH|NDLER TO APPO|NT TRUSTEE OR EXAM|NER

The court orders as set forth on the continuation pages attached and numbered 2 through § with exhibits, if any,

for a total of§ pages Notice of Lodgment Docket Entry No. §§ .

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DATED;

 

Judge, United States Bankruptcy Court

CaSe 18-06044-LT11 Fi|€d 04/30/19 Ent€i’€d 04/30/19 16239255 DOC 261 PQ. 8 019
CSD 1001C [07/01/18] Page 2 of 3

ORDER ONI MOT|ON OF CRED|TOR JACK SCH|NDLER TO APPO|NT TRUSTEE OR EXAM|NER
DEBTOR; Class War, |nc. CASE NO:19-06044-|t11

 

The Motion of Jack Schindler for Appointment of a Trustee or an Examiner ("Motion") came before the Court on April 23,
2019 in Department Three of the United States Bankruptcy Court for the Southern District of California, the Honorab|e
Laura S. Taylor, Chief Bankruptcy Judge presiding Donald A. Vaughn, Esq. and Evan J. Topol, Esq., appeared on
behalf of movant Jack Schindler; David A. Ortiz, Esq., appeared on behalf of the United States Trustee; Aram
Ordubegian, Esq. and Douglas Flahaut, Esq., appeared on behalf of debtor Jesse Wayne Dawber; l\/lichael D. Breslauer,
Esq., appeared on behalf of debtor Class War, lnc.; Jonathan Shenson, Esq.l appeared on behalf of STFU Global PTE,
Ltd. All other appearances were as noted on the record.

Based upon the Motion, the responses filed thereto, argument of counsel at the hearing and for good cause,
lT lS HEREBY ORDERED that the Motion is Granted.

lT lS FURTHER ORDERED that the United States Trustee is hereby directed to appoint an Examiner pursuant to 11
U.S.C. §1104(c) to conduct such an investigation of Class War, lnc. and Jesse Wayne Dawber (the “Debtors”) as is
appropriate, including an investigation of any allegations of fraud, dishonesty, incompetence, misconduct,
mismanagement or irregularity in the management of the affairs of the Debtors of or by current or former management
thereof

lT lS FURTHER ORDERED thati

1. The Examiner`s investigation shall include, but not be limited to, addressing the questions raised by the Court in its
Tentative Ruling (docket # 258).

2. All counsel and parties in the Dawber Bankruptcy case and in the Class War Bankruptcy case shall cooperate with,
and provide the Examiner full access to documents and information, within a reasonable time of receiving any request
therefor

3. Without limiting the generality of the preceding paragraph, the parties and their counsel and representatives in both
the Class War and the Dawber Bankruptcy cases shall provide the Examiner upon request, and without further or
additional direction by this Court: (1) access to and copies of bookkeeping financial, and accounting information
(including, but not limited to, bank accounts, online payment or billing accounts, and QuickBooks), (2) passwords and
access codes for all bookkeeping accounting and financial information and accounts, (3) access to and information
concerning the websites owned, or previously owned, by Dawber or Class War, including electronic communications and
orders for goods, (4) direct access to and codes/passwords necessary to access any and all emai|s, (5) the ability to copy
files and information (e|ectronically and in tangible form) and to take documents and information off-site, for the
Examiner’s use, (6) access to all computers and other electronic storage devices used, or previously used, by Dawber,
his co-debtor, or Class War, (7) access to and the ability to copy information from all electronic communication devices
(e.g. mobile telephones), and (8) the ability to make inspect and make copies of any and all hard drives or other
electronic storage media.

4. The Examiner shall prepare a written report of their investigation and findings, and submit same to the Court.

5. lf the Examiner requires guidance, needs the assistance of the Court in facilitating or enforcing the Examiner's duties
hereunder, or believes expansion of their authority is necessary or proper, said request may be made to the Court by
emergency ex parte application Any party opposing same shall do so within twenty-four (24) hours of service of said
application

6. The Examiner shall make best efforts to conduct their investigation in an efficient, timely, and cost effective manner,
and shall make recommendations to the Court concerning the existence of potential avoidance actions (including but not
limited to, fraudulent transfer and preference actions) and assumption or rejection of executory contracts which may
provide benefit to the Debtors' Estates.

lT lS SO ORDERED

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CaSe 18-06044-LT11 Fi|€d 04/30/19 Ent€i’€d 04/30/19 16239255 DOC 261 PQ. 9 019
CSD 1001C [07/01/18] Page 3 Of 3

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